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                        Exhibit 5
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  Florida Department of State                                                                                                D i v i s i o n o f C o r p o r at i o n s




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          Detail by Entity Name
          Florida Profit Corporation
          SCAN2CAD INC.
          Filing Information

          Document Number                  P24000059950
          FEI/EIN Number                   APPLIED FOR
          Date Filed                       09/19/2024
          State                            FL
          Status                           ACTIVE
          Principal Address

          7901 4TH ST N STE 300
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          Mailing Address

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          Registered Agent Name & Address

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          7901 4TH ST N STE 300
          ST PETERSBURG, FL 33702
          Officer/Director Detail

          Name & Address


          Title CEO


          TAN, YINGWEI
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